Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 1 of 44 Page ID
                                 #:1493




                      EXHIBIT A
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 2 of 44 Page ID
                                 #:1494



 1   Steven L. Woodrow*
       swoodrow@woodrowpeluso.com
 2   Patrick H. Peluso*
       ppeluso@woodrowpeluso.com
 3   Taylor T. Smith*
       tsmith@woodrowpeluso.com
 4   WOODROW & PELUSO, LLC
     3900 East Mexico Avenue, Suite 300
 5   Denver, Colorado 80210
     Telephone: (720) 213-0675
 6   Facsimile: (303) 927-0809
 7   *Pro Hac Vice
 8   Attorneys for Plaintiff and the Class
 9
     [Additional counsel appearing on signature page]
10
11                         UNITED STATES DISTRICT COURT

12         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

13
     Edwardo Munoz, individually and on         Case No. 2:18-cv-03893-RGK-AGR
14   behalf of all others similarly situated,

15                             Plaintiff,       DECLARATION OF STEVEN L.
            v.                                  WOODROW
16
17   7-Eleven, Inc., a Texas corporation,           Judge: Hon. R. Gary Klausner

18                             Defendant.           Date: November 4, 2019
                                                    Time: 9:00 a.m.
19                                                  Judge: Hon. R. Gary Klausner
20                                                  Courtroom: 850
                                                    Complaint Filed: May 9, 2018
21
22
23
24
25
26
27
     DECLARATION OF STEVEN L. WOODROW           1
28
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 3 of 44 Page ID
                                 #:1495



 1   I, Steven L. Woodrow declare as follows:
 2         1.     I am over the age of eighteen (18), and am one of the attorneys for the
 3   plaintiff and the Class in this matter. I make this declaration in support of Plaintiff’s
 4   Motion for Award of Reasonable Attorneys’ Fees, Expenses, and Incentive Award in
 5   connection with the class action settlement agreement reached in the above
 6   captioned litigation.
 7         2.     I am able to testify to the matters set forth herein if called upon to do so.
 8   I make the following statements based upon my own personal knowledge and based
 9   on facts learned during the litigation of this case.
10   Class Counsel’s Pre-Suit Investigation
11         3.     In February 2018, Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”)
12   contacted Class Counsel to discuss his legal rights and potential remedies following
13   his termination from Defendant 7-Eleven, Inc. (“Defendant” or “7-Eleven”).
14         4.     Thereafter, Class Counsel conducted a pre-suit investigation to evaluate
15   Munoz’s potential claims.
16         5.     The investigation began by interviewing Munoz regarding his
17   employment with 7-Eleven and subsequent termination. This involved a series of
18   conversations, including telephone calls and email communications.
19         6.     On March 9, 2018, Class Counsel sent a letter to 7-Eleven requesting all
20   documents contained in Munoz’s employment file.
21         7.     On March 30, 2018, 7-Eleven responded and provided part of Munoz’s
22   employment file. The documents produced included Plaintiff’s new-hire paperwork,
23   including the Disclosure Regarding Background Investigation.
24         8.     After receiving the documents related to Munoz’s employment, our
25   team of lawyers undertook an extensive investigation regarding 7-Eleven’s
26   employment of Munoz. The investigation included reviewing all of the documents
27   provided by 7-Eleven and by Plaintiff Munoz. The investigation also included a
28
     DECLARATION OF STEVEN L. WOODROW
                                                -2-
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 4 of 44 Page ID
                                 #:1496



 1   series of follow-up interviews with Plaintiff Munoz regarding his experience with 7-
 2   Eleven and the context of how each document was provided to him. Further, Class
 3   Counsel reviewed publically available information regarding 7-Eleven’s
 4   employment practices.
 5         9.      Following the completion of the investigation, we were satisfied
 6   internally that a good faith basis existed to pursue the case on behalf of Plaintiff
 7   Munoz. Further, based upon 7-Eleven’s standardized employment practices, we were
 8   also satisfied that a good faith basis existed to pursue this case on behalf of all
 9   individuals similarly-situated to Munoz.
10   The Litigation History
11         10.     On May 9, 2018, Plaintiff filed his class action complaint against 7-
12   Eleven. The complaint alleged that 7-Eleven violated the FCRA by procuring
13   consumer reports about its job applicants and employees without first providing a
14   standalone disclosure and an opportunity to authorize the release of their consumer
15   reports. The complaint also alleged that 7-Eleven violated the FCRA’s adverse
16   action provision by failing to provide Munoz with a copy of his consumer report
17   prior to his termination.
18         11.     Following the filing of the Complaint, 7-Eleven’s counsel reached out
19   to Class Counsel and counsel for the Parties discussed each side’s respective view of
20   the case. Following these discussions and being presented with additional
21   documentation, Plaintiff filed his First Amended Complaint on July 9, 2018, which
22   removed his adverse-action claim.
23         12.     Shortly thereafter, 7-Eleven moved to dismiss the First Amended
24   Complaint. The Parties fully briefed the Court and argued the motion on August 27,
25   2018. On September 5, 2018, the Court issued its Order denying Defendant’s motion
26   to dismiss.
27
28
     DECLARATION OF STEVEN L. WOODROW
                                                -3-
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 5 of 44 Page ID
                                 #:1497



 1            13.   Immediately after briefing Defendant’s motion to dismiss, Plaintiff
 2   moved for class certification. On October 18, 2018, following full briefing on class
 3   certification, the Court issued its Order certifying Plaintiff’s proposed class and sub-
 4   class.
 5            14.   Following the Classes being certified, the Parties worked to identify the
 6   size and scope of the Classes. Then, Plaintiff began formulating a proposed notice
 7   plan, which the Court ultimately approved on February 12, 2019.
 8            15.   After approval, Class Counsel worked with Kurtzman Carson
 9   Consultants, LLC (“KCC”) to effectuate the notice plan. Immediately following
10   notice being mailed to the class, Class Counsel began fielding calls on a daily basis
11   from class members seeking additional information about the case. The class
12   member inquiries required Class Counsel to devote considerable time to responding
13   to the requests for additional information.
14            16.   Throughout this time period, the Parties also engaged in extensive
15   discovery. This included serving and responding to discovery requests and
16   effectuating subpoenas. Further, the Parties met-and-conferred regularly regarding
17   various disputes, and, when necessary, raised the disputes with the Court. The
18   Parties also conducted depositions. On January 30, 2019, Class Counsel deposed 7-
19   Eleven’s corporate representative, Kristin Cope, in Dallas, Texas. Later, on February
20   20, 2019, 7-Eleven’s counsel deposed Plaintiff Munoz on February 20, 2019 in
21   Newport Beach, California.
22            17.   Furthermore, throughout the litigation, Munoz kept himself apprised of
23   the status of the lawsuit and regularly communicated with Class Counsel. Munoz
24   devoted time by traveling to his deposition in Newport Beach, California, and
25   supplying critical testimony. Munoz also spent time responding to the discovery
26   requests and producing personal documentation.
27   The Mediation Process and Settlement History
28
     DECLARATION OF STEVEN L. WOODROW
                                                -4-
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 6 of 44 Page ID
                                 #:1498



 1         18.    In 2018, 7-Eleven’s counsel expressed a willingness to mediate.
 2   However, following several discussions, counsel for Defendant indicated that
 3   mediation could not occur too early in the case.
 4         19.    In early 2019, counsel for both Parties revisited the potential for a
 5   settlement, and ultimately agreed to hold a private mediation session.
 6         20.    Following the exchange of potential mediators, the Parties agreed to
 7   schedule a mediation session with Michael E. Dickstein. Mr. Dickstein is a
 8   nationally-recognized mediator with substantial class action experience. In the lead
 9   up to the mediation, the Parties exchanged mediation statements regarding their
10   respective views of the potential for a settlement.
11         21.    On April 9, 2019, the Parties met in Toronto, Ontario, Canada for a full-
12   day mediation session. The mediation was adversarial and hard fought with both
13   sides expressing confidence in their respective views. Ultimately, the session ended
14   with the Parties unable to reach an agreement. Instead, the Parties agreed to brief and
15   argue their cross-motions for summary judgment and prepare for trial.
16         22.    Counsel for the Parties also agreed, however, to continue to discuss a
17   possible resolution in the lead up to the trial. To facilitate these discussions, Mr.
18   Dickstein worked to continue the settlement talks by engaging both sides in a series
19   of telephonic negotiations.
20         23.    Throughout the discussions, the Parties finished briefing their cross
21   motions for summary judgment, prepared for and held the Local Rule 16-2 meeting,
22   and started compiling the joint exhibit list, their Memorandum of Contentions of
23   Law and Fact, the proposed jury instructions, and their witness lists.
24         24.    In the midst trial preparation and with the assistance of the mediator, the
25   Parties reached an agreement in principal to resolve the claims at issue. Only after
26   reaching an agreement in principal did the Parties discuss an amount for reasonable
27   attorneys’ fees and an incentive award for Munoz.
28
     DECLARATION OF STEVEN L. WOODROW
                                                -5-
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 7 of 44 Page ID
                                 #:1499



 1   Preliminary Approval & Settlement Notice
 2         25.    Following reaching an agreement in principal, the Parties provided
 3   notice of the settlement to the Court. Then, the parties worked to memorialize the
 4   terms of the Settlement. Given the success of the initial notice plan, the Parties
 5   agreed to select KCC to administer the settlement notice plan.
 6         26.    Class Counsel then worked to draft its Motion for Preliminary Approval
 7   of Class Action Settlement, which was filed on June 17, 2019. (Dkt. 85.) On July 18,
 8   2019, the Court continued the hearing on Plaintiff’s motion and required the parties
 9   to file an addendum that clarified the language of the release. (Dkt. 89.) Specifically,
10   the Court required the release to be limited to the facts that were alleged in the First
11   Amended Complaint. Plaintiff filed the addendum on July 29, 2019. (Dkt. 90.)
12         27.    On July 30, 2019, the Court granted Plaintiff’s Motion for Preliminary
13   Approval and ordered that notice be disseminated to the class members.
14         28.    Thereafter, Class Counsel worked to finalize all of the notice
15   documents. This includes: the claim form, the long form notice, the short form
16   (postcard) notice, the email notice, the settlement website, and the interactive voice
17   recording (IVR) messaging. Class Counsel also tested the functionality of the online
18   claim submission process.
19         29.    Class Counsel has also worked to ensure that KCC properly and timely
20   provided notice to the class members. This involved a series of telephone calls and
21   email communications to keep apprised of the progression of the plan and to address
22   various issues as they arose. To date, Class Counsel continue to monitor the claims
23   process to ensure that it runs efficiently.
24   Response to the Settlement to Date
25         30.    Since notice was disseminated, Class Counsel has received over 100
26   inquires from class members regarding their rights. My firm continues to field calls
27
28
     DECLARATION OF STEVEN L. WOODROW
                                                   -6-
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 8 of 44 Page ID
                                 #:1500



 1   on a daily basis from class members who require assistance with the claims process.
 2   Overall, class members have expressed satisfaction with the result.
 3            31.   As a result of the first notice plan, forty-one (41) individuals elected to
 4   opt-out of remaining in the lawsuit. These individuals did not receive notice of the
 5   settlement and will not have their legal rights affected by the settlement.
 6            32.   To date, only twelve (12) of the 52,159 class members have elected to
 7   opt-out of the settlement. The small number of opt-outs is further evidence of
 8   satisfaction with the results. Further, no class members have objected to the
 9   settlement.
10            33.   The $1,972,500 Settlement Fund will be used to pay all approved
11   claims, Settlement Administration Expenses, any Incentive Award, and any Fee
12   Award. After the subtraction of the Settlement Administration Expenses, any
13   Incentive Award, and any Fee Award from the Settlement Fund, the remaining
14   amount—the Net Settlement Fund—will be divided by the total number of approved
15   claims. Each class member who submits an approved claim shall be entitled to
16   receive one (1) Claimant Payment. Claimant Payments will be of equal value and
17   will be calculated by dividing the Net Settlement Fund by the total number of
18   approved claims. Such payments are subject to a cap of $550 each.
19            34.   Presently, 1,630 class members have filed claims, which represents
20   approximately 2.33% of the Class. If paid today, this would result in payments to
21   class members equal to $550.
22   Class Counsel’s Hours and Rates
23            35.   After reviewing my firm’s time keeping records, as of the filing of this
24   Motion, Class Counsel have expended the following hours1 litigating and settling of
25   this case:
26        Attorney Name/Firm      Title         Rate      Hours         Lodestar
27
     1
28       Class Counsel's time sheets are available upon request for the Court's review.
     DECLARATION OF STEVEN L. WOODROW
                                                 -7-
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 9 of 44 Page ID
                                 #:1501



 1      Steven Woodrow (WP)        Partner       $450     299.3         $ 134,685.00
 2      Patrick Peluso (WP)        Partner       $350     451.2         $ 157,920.00
 3
        Taylor Smith (WP)          Associate     $235     243.3         $ 57,175.50
 4
        Stephen Klein (WP)         Associate     $235     110.1         $ 25,873.5
 5
 6      Mike Arias (ASWT)          Partner       $1,050   8.6           $ 9,030.00

 7      Alfredo Torrijos           Partner       $750     54.7          $ 41,025.00

 8      LaDonna McDuffe            Paralegal     $175     2.0           $ 350.00
 9      LODESTAR                                          1,169.20      $ 426,059.00
10
            36.      The time spent to date is reasonable. Class Counsel devoted substantial
11
     time to prosecuting this matter. Even before filing the complaint, Class Counsel
12
     spent considerable time performing legal research, reviewing documents, and
13
     interviewing Mr. Munoz to understand the potential claims and put forth a legal
14
     theory with the best chances of success. After initiating this lawsuit, Class Counsel
15
     spent more than a year immersed in litigation. As previously stated, Class Counsel
16
     spent meaningful time briefing various motions, effectuating two notice plans,
17
     attending a mediation session, and obtaining substantial discovery. Class Counsel
18
     has also been responsive to the needs of class members and have promptly returned
19
     all inquires.
20
            37.      Class Counsel also estimates that an additional $15,000 in further
21
     attorney time will be expended to finalize this settlement.
22
            38.      It is also important to note that Class Counsel took this case on a
23
     contingent fee basis. Class Counsel litigated this case and advanced expenses with
24
     the possibility that they would receive nothing in return. Furthermore, as a result of
25
     the time and monies spent on this action, Class Counsel were unable to devote time
26
     and resources to other cases and pursuing new clients.
27
28
     DECLARATION OF STEVEN L. WOODROW
                                                  -8-
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 10 of 44 Page ID
                                 #:1502



 1         39.    Furthermore, Class Counsel’s hourly rates are reasonable. Class
 2   Counsel’s rates have been approved by various courts. See Gergetz v. Telenav, Inc.,
 3   Case No. 16-cv-04261-BLF, 2018 WL 4691169, at *7 (N.D. Cal. Sept. 27, 2018)
 4   (approving 2018 rates for Steven Woodrow, Patrick Peluso, and Taylor Smith of
 5   $440, $340, and $225 respectively); see also Couch v. Southwest Airlines Co., 3:15-
 6   cv-00367-N (N.D. Tex. 2016) (Couch Dkt. 43) (approving Woodrow & Peluso's
 7   2016 rates of $430 (for Woodrow) and $330 (for Peluso)); see also Wigod v. Wells
 8   Fargo Bank, N.A., Case No: 1:10-cv-2348 (N.D. Ill. 2014) (Bucklo, J.) (Wigod Dkt.
 9   278) (approving hourly rate of $570 for attorney Woodrow in 2014); see also
10   Schulken v. Washington Mutual Bank, No. 09-CV-02708-LHK (N.D. Cal.)
11   (Schulken Dkt. 223) (Koh J.) (approving attorney Woodrow's former hourly rate of
12   $500 in 2012).
13         40.    Additionally, the stated hourly rate for each attorney is the same rate
14   that is charged to hourly-paying clients, are have not been adjusted to reflect the risk
15   associated with accepting this case.
16   Class Counsel’s Out of Pocket Expenses
17         41.    In addition to the time spent litigating the case, Class Counsel incurred
18   significant out-out-pocket expenses. These expenses include our filing fees, service
19   of process cost, travel to and from the hearing on the motion to dismiss, court
20   reporters and deposition fees, travel to and from the mediation, and various other
21   litigation expenses. Class Counsel’s expenses in this matter total $19,783.70. (See
22   Expense Report, a true and accurate copy of which is attached hereto as Exhibit 1.)
23         42.    Further, Local Counsel also incurred expenses in the sum of $1,177.45.
24   These expenses include: filing fees, court costs, mileage & parking, messenger
25   delivery and postage. (See Declaration of Mike Arias, a true and accurate copy of
26   which is attached hereto as Exhibit 3.)
27
28
     DECLARATION OF STEVEN L. WOODROW
                                               -9-
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 11 of 44 Page ID
                                 #:1503



 1         43.     Having reviewed the expenses, I can attest that they are necessary and
 2   reasonable, and were incurred as a result of the demands imposed by the litigation.
 3   None of the expenses were for lavish accommodations or for unnecessary items.
 4   Additionally, Class Counsel expended monies for these items without any guarantee
 5   of payment. Accordingly, the Court should approve the requested expenses of
 6   $20,961.15.
 7   Class Counsel’s Opinion of the Settlement Agreement
 8         44.     The terms of the Settlement Agreement are unquestionably strong when
 9   viewed against other FCRA settlements. The Settlement Agreement provides
10   substantial monetary relief to the class members, and redresses the very issue that
11   gave rise to the instant litigation. That is, the agreement requires 7-Eleven to utilize
12   an FCRA compliant disclosure on a going forward basis.
13         45.     Further, assuming the claims rate holds steady, the per claimant
14   amounts will equal $550 for each class member who files a claim. This is an
15   unquestionably strong result.
16         46.     Moreover, the strength of the Settlement Agreement is most apparent
17   when view in contrast to the continuation of the litigation. Here, both Parties were
18   willing to litigate this case through summary judgment and trial. And an adversarial
19   ruling or a verdict in 7-Eleven’s favor would have left the class members with
20   potentially no recovery at all.
21         47.     Further, regardless of the result of summary judgment and the
22   impending trial, the decision likely would have been appealed. Altogether, this
23   process could drag out for several years. Fortunately for class members, this
24   Settlement Agreement will provide them with immediate and substantial relief.
25         48.     My firm has extensive experience litigating FCRA class actions, has
26   devoted substantial resources to the present litigation, and will continue to do so
27   throughout its pendency. (See Woodrow & Peluso Firm Resume, attached hereto as
28
     DECLARATION OF STEVEN L. WOODROW
                                               - 10 -
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 12 of 44 Page ID
                                 #:1504



 1   Exhibit 2.) Our local counsel was also instrumental. (See Declaration of Mike Arias,
 2   attached hereto as Exhibit 3.) We support this Settlement as being fair, reasonable,
 3   and adequate and in the best interest of the class members.
 4         Further affiant sayeth not.
 5         Signed this 20th day of September 2019 in Denver, Colorado.
 6
 7                                         /s/ Steven L. Woodrow
 8                                         Steven L. Woodrow
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     DECLARATION OF STEVEN L. WOODROW
                                             - 11 -
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 13 of 44 Page ID
                                 #:1505




                        EXHIBIT 1
 Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 14 of 44 Page ID
                                  #:1506

Woodrow & Peluso LLC
Expense Report 7-Eleven

       Date      Type of Expense                                      Amount
    5/14/2018    Certificates of Good Standing for PHV Motions    $         15.00
    5/15/2018    Search for 7-Eleven's registered agent           $          1.03
     5/15/2018   Filing Fee                                       $        400.00
    8/22/2018    Hotel for MTD Hearing                            $        183.94
    8/22/2018    Airport Parking MTD Hearing                      $         48.00
    8/22/2018    Flights to and from MTD Hearing                  $        488.96
    10/15/2018   Hotel for CMC                                    $        230.22
    10/15/2018   flights to and from CMC                          $        620.96
     1/2/2019    Service of process of subpoena on Sterling       $        115.00
     1/8/2019    Flights to and from 30(b)(6)                     $        411.96
     1/16/2019   Service of process                               $        115.00
     1/22/2019   Woodrow Hotel 30(b)(6)                           $        278.96
     2/15/2019   Munoz airport shuttle                            $         80.24
     2/15/2019   Munoz flight for deposition                      $        198.00
    2/15/2019    Peluso flight for deposition                     $        563.96
    2/15/2019    Hotels for Munoz and Peluso for deposition               $643.14
    2/21/2019    30(b)(6) court reporter fee                      $       1,542.90
    2/21/2019    Mediation fee                                    $       8,000.00
     3/1/2019    Shipping discovery requests                      $          41.28
     4/1/2019    flights to mediation                             $         897.21
     4/1/2019    flights back from mediation                      $         927.93
     4/1/2019    hotel rooms for mediation (2 people, 2 nights)   $       2,980.31
    4/15/2019    Munoz deposition court reporter invoice          $         999.70
                 TOTAL                                            $     19,783.70
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 15 of 44 Page ID
                                 #:1507




                        EXHIBIT 2
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 16 of 44 Page ID
                                 #:1508


                           WOODROW & PELUSO, LLC FIRM RESUME

         WOODROW & PELUSO, LLC (“Woodrow & Peluso” or the “firm”) is a plaintiff’s class
 action and commercial litigation firm based in Denver, Colorado. The firm files cases across the
 Country.

         Our attorneys have over a decade of experience successfully representing consumers and
 small businesses in matters nationwide. From litigation under the Telephone Consumer
 Protection Act, 47 U.S.C. § 227 et seq., to cases enforcing the rights of job applicants and
 employees under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., to appeals of first
 impression, our lawyers have litigated and favorably resolved numerous legal disputes to the
 satisfaction of our clients. At Woodrow & Peluso, LLC, we take special pride in the quality of
 our work product and strive tirelessly to achieve the best results for every client. Descriptions of
 our three primary practice areas—(1) Consumer Class Actions, (2) Commercial Litigation, and
 (3) Appeals—and key personnel follow.

                                      OUR PRACTICE AREAS

 1.     CONSUMER CLASS ACTIONS

        The majority of the firm’s caseload focuses on consumer class actions. These cases
 include class actions alleging violations of statutes, such as the Fair Credit Reporting Act, the
 Telephone Consumer Protection Act, and the Truth-in-Lending Act, as well as class actions
 challenging systematic breaches of contract and advancing other common law theories.

        TCPA Class Actions

         Woodrow & Peluso attorneys have successfully litigated and settled numerous class
 actions challenging violations of the Telephone Consumer Protection Act. To date we have filed,
 prosecuted, and resolved using various settlement models TCPA cases against major
 corporations and entities including Rita's Italian Ice, Global Marketing Research Services, LKQ
 Corporation, J.B. Hunt, Altisource, Acurian, Price Self Storage, Local Lighthouse, Geekatoo,
 and the University of South Carolina, among others. Our firm’s attorneys have substantial
 experience prosecuting such claims, including class actions challenging the unlawful
 transmission of text messages, the sending of unlawful facsimiles, the placement of “robocalls”
 featuring a pre-recorded voice to residential landline phones, and the use of automatic telephone
 dialing systems, including predictive dialers, to call consumer cell phones.

        Notable TCPA cases and settlements include:

        • Tech Instruments, Inc. v. Eurton Electric Inc. 1:16-cv-02981-MSK-KMT (Krieger, C.J.)
        (adversarial class certification granted under for transmission of junk faxes)

        • Bowman v. Art Van Furniture, Inc. 2:17-cv-11630-NGE-RSW (Edmunds, J.) (granting
        final approval to all in, non-reversionary settlement fund of $5,875,000 in pre-recorded
        message case) (final approval granted December 10, 2018);
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 17 of 44 Page ID
                                 #:1509



        • Wendell H. Stone & Co. v. LKQ Corporation, 16-cv-07648 (N.D. Ill.) (Kennelly, J.)
        (granting final approval to all-in, non-reversionary, settlement fund of $3,266,500) (final
        approval granted May 16, 2017);

        • Martin et al. v. Global Marketing Research Services, Inc., 6:14-cv-1290-ORL-31-KRS
        (M.D. FL) (Woodrow & Peluso appointed co-lead Settlement Class Counsel in
        settlement creating $10,000,000 common fund for class of 688,500 cellphone users)
 (final approval granted November 4, 2016);

        • Mendez v. Price Self Storage Management, Inc., 3:15-cv-02077-AJB-JLB (S.D. CA)
        (Woodrow & Peluso appointed co-lead Settlement Class Counsel in TCPA settlement
        providing option of $750 cash or $1,100 in storage certificates) (final approval granted
        August 23, 2016);

        • Sherry Brown and Ericka Newby v. Rita's Water Ice Franchise Company, LLC,
        2:15-cv-03509-TJS (E.D. PA) ("all in" non-reversionary $3,000,000 settlement fund for
        text messages) (final approval granted March 20, 2017);

        • Morris et al v. SolarCity, Inc. 3:15-cv-05107 (N.D. CA) (JPA with counsel on $15
        million common fund TCPA settlement, final approval granted February 1, 2018).

        • Gergetz v. Telenav, Inc. 3:16-cv-04261 (N.D. CA) (“all-in” non-reversionary $3.5
        million fund for text messages) (final approval granted on September 6, 2018).

         Further, while a Partner with his prior law firm, Woodrow & Peluso attorney Steven
 Woodrow was appointed interim co-lead class counsel in a TCPA class action against Nationstar
 Mortgage, LLC (see Jordan et al v. Nationstar Mortgage LLC, 3:14-cv-00787-WHO) and led
 TCPA litigation that resolved favorably against Bankrate Inc., and Carfax.com. Mr. Woodrow
 was also involved in the TCPA settlement reached in Weinstein v. The Timberland Co. et al.
 (N.D. Ill.), a text messaging class action featuring 40,000 unauthorized messages, and was part
 of the appellate strategy team that secured the landmark decision in Satterfield v. Simon &
 Schuster, Inc., 569 F.3d 946 (9th Cir. 2009), the first federal appellate decision to affirm that text
 messages are covered as “calls” under the TCPA.

        FCRA Class Actions

         The second sub-focus within the firm’s class action practice consists of cases under the
 Fair Credit Reporting Act (“FCRA”), which regulates the procurement and use of consumer
 reports by employers when they make hiring/firing/pay decisions. To date, the firm has
 successfully represented clients in putative class actions against Terminix, ServiceMaster,
 TrueBlue Inc./Labor-Ready Mid-Atlantic, FedEx, Tyler Staffing Services, Inc., Great Lakes
 Wine & Spirits, Freeman Webb, Inc., and others. This includes attaining adversarial class
 certification in the case of Munoz v. 7-Eleven, Inc., 2:18-cv-03893-RGK-AGR (C.D. Cal.,
 October 28, 2018). This also includes Woodford v. World Emblem, 1:15-cv-02983-ELR, an
 FCRA settlement providing between $315 and $400 to claimants (final approval granted January
 23, 2017).


                       WOODROW & PELUSO, LLC Firm Resume as of September 2018                         2
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 18 of 44 Page ID
                                 #:1510




        Banking and Financial Institutions Class Actions

          Our attorneys have substantial experience representing consumers in class action
 litigation involving national banking associations and other financial institutions. Meaningful
 representations include:

               •      Schulken v. Washington Mut. Bank, No. 09-CV-02708-LHK, 2012 WL
                      28099, at *15 (N.D. Cal. Jan. 5, 2012). Attorney Steven Woodrow secured
                      prior firm’s appointment as Class Counsel from Judge Lucy Koh in class
                      action challenging JPMorgan Chase Bank, N.A.’s suspension of former
                      WaMu home equity line of credit accounts. Case settled with Mr.
                      Woodrow’s appointment as co-lead settlement class counsel.

               •      In re JPMorgan Chase Bank, N.A. Home Equity Line of Credit Litigation,
                      MDL No. 2167. Attorney Steven Woodrow helped secure transfer by the
                      Judicial Panel on Multidistrict Litigation to the Northern District of
                      Illinois and appointment of prior firm as interim class counsel. Attorney
                      Woodrow also negotiated and was also appointed co-lead settlement class
                      counsel in settlement projected to restore between $3 billion - $5 billion in
                      credit to affected borrowers in addition to cash payments.

               •      Hamilton v. Wells Fargo Bank, N.A., 4:09-cv-04152-CW (N.D. Cal.).
                      Attorney Steven Woodrow served as co-lead settlement counsel in class
                      action challenging Wells Fargo’s suspensions of home equity lines of
                      credit. Nationwide settlement restored access to over $1 billion in credit
                      and provided industry leading service enhancements and injunctive relief.

               •      In re Citibank HELOC Reduction Litigation, 09-CV-0350-MMC (N.D.
                      Cal.). Attorney Steven Woodrow was appointed interim co-lead counsel
                      and settlement class counsel in class actions challenging Citibank’s
                      suspensions of home equity lines of credit. The settlement was estimated
                      to have restored over $650,000,000 worth of credit to affected borrowers.

               •      Vess v. Bank of America, N.A. 10cv920–AJB(WVG) (S.D. Cal.). Attorney
                      Steven Woodrow negotiated class action settlement with Bank of America
                      challenging suspension and reduction of home equity lines of credit.

               •      Wigod v. Wells Fargo, No. 10-cv-2348 (N.D. Ill.). Steven Woodrow
                      secured the first appellate decision in the country recognizing the right of
                      homeowners to sue under state law to enforce HAMP trial plan
                      agreements. Attorney Steven Woodrow was appointed co-lead settlement
                      counsel providing loan modifications and cash payments to affected
                      borrowers.



                      WOODROW & PELUSO, LLC Firm Resume as of September 2018                     3
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 19 of 44 Page ID
                                 #:1511


        General Consumer Protection Class Actions

         Woodrow & Peluso attorneys have additionally successfully prosecuted and resolved
 countless class action suits against other companies for a range of consumer protection issues.
 For example, Woodrow & Peluso filed the first class action in the Country to challenge the
 marijuana industry’s use of certain allegedly dangerous fungicides and pesticides and were the
 first lawyers to bring class actions (against the Colorado Rockies Baseball Club and Kroenke
 Sports & Entertainment, LLC) seeking to enforce the Colorado Consumer Protection Act, § 6-1-
 718 et seq., which prohibits owners of entertainment venues from imposing restrictions on the
 resale of tickets. The firm has also brought and litigated class actions against hospitals for their
 use of “chargemaster” billing rates and are presently engaged in litigation against Southwest
 Airlines related to its “Companion Pass” program.

         Woodrow & Peluso LLC has also brought claims against major food manufacturers and
 distributors for falsely advertising certain products as “All Natural” and “Made in U.S.A.” Our
 attorneys also have experience litigating class claims regarding missing or misappropriated
 “bitcoins.” Woodrow & Peluso also brought the first class action in Colorado against cannabis
 growers for their use of unapproved and harmful pesticides.

 2.     COMMERCIAL LITIGATION

         As small business owners, we understand and appreciate the challenges that new
 companies face as they strive to make headway in the market. Our attorneys regularly counsel
 small to medium-sized businesses and have represented such companies in a wide range of
 general commercial litigation matters including partnership and business disputes, breaches of
 contracts and term sheets, and claims charging company managers and members of breach of
 fiduciary duty, breach of contract, fraud, and fraudulent/preferential transfers. We regularly
 advise clients on matters and contracts involving millions of dollars, and our attorneys have
 successfully represented businesses and other entities in mediations, arbitrations, and trial. In
 2018, for example, Woodrow & Peluso, LLC defended a developer of concessions at Denver
 International Airport against claims of bid-rigging and bribery.

 3.     APPEALS

         Our attorneys have substantial experience handling appeals at both the state and federal
 level. Representative appeals worked on predominately by our attorneys include:

                •       Mitchell v. Winco Foods, LLC, No. 1:16-cv-00076-BLW, Appeal No. 17-
                        35998 (9th Cir. Nov. 29, 2018). Firm attained reversal of district court’s
                        dismissal of putative FCRA class action on Article III standing grounds;

                •       Brown v. Centura Health Corporation, No. 15CV31140 (Douglas Cnty.
                        Colo.), Appeal No. 17CA430. Firm achieved reversal of dismissal of
                        putative class action lawsuit challenging hospital’s use of chargemaster
                        billing system);




                       WOODROW & PELUSO, LLC Firm Resume as of September 2018                      4
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 20 of 44 Page ID
                                 #:1512


               •       Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012). Attorney
                       Steven Woodrow briefed and argued this appeal resulting in the first
                       federal appellate decision holding that banks may be sued under state law
                       for violations of the federal government’s Home Affordable Modification
                       Program. The opinion has been cited over 1,300 times by courts, litigants,
                       and commentators throughout the Country and is widely regarded as the
                       leading authority on the rights and obligations of HAMP servicers and
                       borrowers.

               •       Robins v. Spokeo, 742 F.3d 409 (9th Cir. 2014). Attorney Steven
                       Woodrow argued a federal appeal reversing dismissal and upholding
                       consumer rights under the Fair Credit Reporting Act against one of the
                       nation’s largest online data aggregators regarding whether a plaintiff who
                       does not suffer tangible pecuniary loss may still show legal harm to satisfy
                       Article III standing. The case was reversed on writ of certiorari to the
                       United States Supreme Court (argued by different attorneys).

               •       Equity Residential Properties Mgmt. Corp. v. Nasolo, 364 Ill. App. 3d 26,
                       28, 847 N.E.2d 126, 128 (2006). Attorney Steven Woodrow helped author
                       the winning brief in this landmark landlord/tenant appeal defining the
                       requirements for constructive service and due process for Illinois evictions
                       under the Illinois Forcible Entry and Detainer Act. 735 ILCS 5/9–107 et
                       seq.

               •       Fuentes v. Kroenke Sports & Entertainment, LLC, Case No.
                       2014CV32619. Woodrow & Peluso appealed grant of summary judgment
                       in favor of defendant finding that the Colorado Consumer Protection Act,
                       6-1-701 et seq. does not allow for class actions. Case settled prior to the
                       resolution of the appeal.

                                        OUR ATTORNEYS

        At present, our firm consists of 4 attorneys whose relevant experience is set forth below.

 STEVEN LEZELL WOODROW has over a decade of experience advising consumers
 and small businesses in high stakes litigation.

 Steven briefed and delivered the winning argument in the landmark federal appellate court
 decision Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547 (7th Cir. 2012) holding banks
 accountable for violations of the federal Home Affordable Modification Program. The opinion
 is widely regarded as the leading authority on the rights and obligations of HAMP servicers
 and borrowers. Steven also delivered the winning oral argument in Robins v. Spokeo, 742 F.3d
 409 (9th Cir. 2014), a federal appeal upholding consumer rights under the Fair Credit Reporting
 Act against one of the nation’s largest online data aggregators. The case and the Supreme Court
 decision that ultimately reversed it (and now the Ninth Circuit's decision to re-affirm its prior




                      WOODROW & PELUSO, LLC Firm Resume as of September 2018                         5
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 21 of 44 Page ID
                                 #:1513


 finding of Article III standing) present some of the most widely-litigated issues in class action
 practice today.

 Mr. Woodrow was appointed lead class counsel in litigation against JPMorgan Chase Bank,
 N.A. challenging the bank’s 4506-T HELOC suspension program and was appointed lead
 settlement class counsel in other HELOC suspension litigation against Wells Fargo Bank, N.A.,
 Citibank, N.A., Chase, Bank of America, N.A. and PNC Bank.

 Mr. Woodrow also led the legal team that secured a preliminary injunction freezing the
 U.S. assets of Mark Karpeles, the former head of the failed Bitcoin exchange known as Mt. Gox,
 as well as an order compelling Mr. Karpeles to personally appear in the United States for a
 deposition in connection with Mt. Gox’s Chapter 15 bankruptcy case in Dallas Texas.

 Steven has also litigated putative class actions under the Telephone Consumer Protection
 Act, and courts have appointed him to serve as class counsel in nationwide settlements
 against cellphone companies, aggregators, and mobile content providers related to unfair
 billing practices, including Paluzzi v. Cellco Partnership, Williams v. Motricity, Inc., and Walker
 v. OpenMarket Inc.

 Steven has also served as an Adjunct Professor of Law at the Illinois Institute of
 Technology Chicago-Kent College of Law, where he co-taught a seminar on class actions. Prior
 to founding Woodrow & Peluso, Steven was a partner at prominent class action technology firm
 in Chicago.

 Before that, he worked as a litigator at a Chicago boutique where he tried and arbitrated a
 range of consumer protection, landlord tenant, and real estate matters.

 EDUCATION
 Chicago-Kent College of Law, J.D., High Honors, 2005
 The University of Michigan-Ann Arbor, B.A, Political Science, with Distinction, 2002

 ADMISSIONS
 State of Illinois (2005)
 State of Colorado (2011)
 United States Court of Appeals for the Seventh Circuit
 United States Court of Appeals for the Ninth Circuit
 United States District Court, Northern District of Illinois
 United States District Court, District of Colorado
 United States District Court, Eastern District of Michigan
 United States District Court, Western District of Michigan
 United States District Court, District of New Mexico


 PATRICK H. PELUSO specializes in plaintiff-side consumer class actions.




                       WOODROW & PELUSO, LLC Firm Resume as of September 2018                     6
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 22 of 44 Page ID
                                 #:1514


 With a true passion for protecting consumers and their rights, Patrick aggressively pursues class
 action lawsuits against companies who violate those rights.

 Through these lawsuits, he is able to force law-breaking companies to compensate the people
 they have harmed and correct their future practices. Patrick possesses the skills, strategic vision,
 and moxie to achieve excellent results for the people he represents. He has experience working
 with a broad range of consumer protection laws including the Fair Credit Reporting Act, the
 Telephone Consumer Protection Act, and various state consumer protection and consumer fraud
 statutes.

 Patrick received his law degree from the University of Denver, Sturm College of Law where he
 was Editor-in-Chief of an academic journal. During law school, Patrick worked with a leading
 consumer class action law firm and held legal internships with a federal administrative judge and
 the legal department of a publicly traded corporation. Before law school, Patrick attended New
 York University, where he graduated with a B.S. and played on the school’s club baseball team.

 Patrick grew up in Baltimore, Maryland and now resides in Denver, Colorado.

 EDUCATION
 University of Denver, J.D.
 New York University, B.S.

 ADMISSIONS
 State of Colorado (2014)
 United States District Court, District of Colorado
 United States District Court, District of New Mexico
 United States District Court, Eastern District of Michigan
 United States District Court, Northern District of Illinois
 United States District Court, Western District of Wisconsin



 TAYLOR TRUE SMITH focuses his practice on consumer class actions.

 Throughout his life and career, Taylor has developed a passion for consumer advocacy. By
 pursuing class actions on behalf of consumers, Taylor can give consumers not just a voice but
 also a seat at the bargaining table.

 Taylor received his law degree from the Creighton University School of Law. During law school,
 he interned with the South Dakota Supreme Court. Prior to beginning law school, Taylor
 attended South Dakota State University where he earned a B.S. in Economics.

 Taylor was raised in Fort Pierre, South Dakota and currently resides in Denver, Colorado.

 Education
 Creighton University School of Law, J.D. Cum Laude 2017
 South Dakota State University, B.S. Magna Cum Laude 2013


                       WOODROW & PELUSO, LLC Firm Resume as of September 2018                      7
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 23 of 44 Page ID
                                 #:1515



 Admissions
 State of Colorado (2017)
 United States District Court, District of Colorado
 United States District Court, Eastern District of Michigan
 United States District Court, Northern District of Illinois


 STEPHEN KLEIN devotes his practice to consumer class actions and commercial litigation.

 In a word, Stephen prides himself on the pursuit of results. Whether championing consumers in
 class actions to curb injurious commercial practices or helping businesses to secure their
 resources and protect their rights, Stephen is dedicated to achieving client goals.

 Stephen earned his law degree at the University of Denver, Sturm College of Law, where he
 earned a certificate in intellectual property law. While in law school, Stephen worked as a
 student attorney in the Environmental Law Clinic and as a legal fellow in DU’s Office of
 Technology Transfer. He also served as Managing Editor of the University of Denver Water Law
 Review. Prior to law school, Stephen earned a B.A. in Environmental and Sustainability Studies
 from the University of Northern Colorado.

 Originally from Chicago, Illinois, Stephen spent time in Minnesota, Ohio, and Texas before
 settling in the Denver metro area.

 EDUCATION
 University of Denver, Sturm College of Law, J.D., Order of the Coif, 2018
 University of Northern Colorado, B.A., summa cum laude, 2014

 ADMISSIONS
 State of Colorado (2018)
 United States District Court, District of Colorado




                       WOODROW & PELUSO, LLC Firm Resume as of September 2018                    8
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 24 of 44 Page ID
                                 #:1516




                        EXHIBIT 3
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 25 of 44 Page ID
                                      #:1517

 1    Mike Arias (CSB #115385)
        mike@asstlawyers.com
 2    Alfredo Torrijos (CSB #222458)
        alfredo@asstlawyers.com
 3    ARIAS SANGUINETTI WANG & TORRIJOS, LLP
      6701 Center Drive West, 14th Floor
 4    Los Angeles, California 90045
      Telephone: (310) 844-9696
 5    Facsimile: (310) 861-0168
 6    Steven L. Woodrow*
        swoodrow@woodrowpeluso.com
 7    Patrick H. Peluso*
        ppeluso@woodrowpeluso.com
 8    Taylor T. Smith*
        tsmith@woodrowpeluso.com
 9    WOODROW & PELUSO, LLC
      3900 East Mexico Avenue, Suite 300
10    Denver, Colorado 80210
      Telephone: (720) 213-0675
11    Facsimile: (303) 927-0809
12    *Pro Hac Vice admission to be filed
13    Attorneys for Plaintiff Edwardo Munoz
      and the alleged Classes
14
15                        UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
                                                 CASE NO. 2:18-cv-03893-RGK-AGR
17    Edwardo Munoz, individually and on
      behalf of all others similarly situated,
18                                               DECLARATION OF MIKE ARIAS IN
                                Plaintiff,       SUPPORT OF PLAINTIFF’S MOTION
19                                               FOR APPROVAL OF ATTORNEYS’
            v.                                   FEES AND REIMBURSEMENT OF
20
      7-Eleven, Inc., a Texas corporation,       COSTS
21
                                Defendant.       Hearing
22                                               Date: November 4, 2019
23                                               Time: 9:00 a.m.
                                                 Judge: Hon. R. Gary Klausner
24                                               Courtroom: 850
                                                 Complaint Filed: May 9, 2018
25
26
27
28

                                            – 1 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 26 of 44 Page ID
                                      #:1518

 1                                DECLARATION OF MIKE ARIAS
 2          I, Mike Arias, declare:
 3          1.     I am admitted and licensed to practice before all courts of the State of California,
 4    the States of New York, New Jersey and the District of Columbia. I am the managing partner
 5    of the firm of Arias Sanguinetti Wang & Torrijos, LLP (“ASWT”), co-counsel of record for
 6    plaintiff Edwardo Munoz (“Plaintiff”).
 7          2.     I submit this declaration in support of Plaintiff’s Motion for Approval of
 8    Attorneys’ Fees and Reimbursement of Costs. I have personal knowledge of the matters
 9    described below and I am competent to testify thereto.
10
11    I.    EXPERIENCE OF ARIAS SANGUINETTI WANG & TORRIJOS, LLP
12          3.     The partners of ASWT focus on representing plaintiffs and a large part of our
13    practice centers on prosecuting class action lawsuits in the fields of consumer fraud,
14    employment, disability rights, insurance, banking, and antitrust. My partners and I collectively
15    have been involved in the representation of plaintiffs in more than 150 different class action
16    cases and have been appointed as class counsel in numerous state and federal courts.
17          4.     ASWT and my previous firm (Arias Ozzello Gignac, LLP) have successfully
18    prosecuted and obtained significant recoveries in numerous class action and “mass action”
19    lawsuits. Some of those recoveries include:
20                        $49 million in cash equivalent calling cards recovered for failure
21                        to prorate monthly service fees charged to customers during final
22                        month of service prior to termination; Rolnik v. AT&T Wireless
23                        Services, Inc. (New Jersey Superior Court).
24                        $42 million recovery on behalf of a class of customers for
25                        inadequately disclosed out-of-cycle billing policies; Lozano v.
26                        AT&T Wireless Services, Inc. (U.S. District Court, Central
27                        District of California).
28                        $32.5 million recovery on behalf of a class on consumers for the

                                            – 2 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 27 of 44 Page ID
                                      #:1519

 1                      inadequate disclosure of certain fee, misrepresentation regarding
 2                      those fees and failure to use fee as promised; McKnight v. Uber
 3                      Technologies, Inc. (U.S. District Court, Northern District of
 4                      California).
 5                      $38 million recovery on behalf of a class of customers for
 6                      inadequately disclosed service fees on billing statements; Sterns
 7                      v. AT&T Mobility Corp. (U.S. District Court, Central District of
 8                      California).
 9                      $22.5 million recovery, consisting of $14.5 million in monetary
10                      relief and injunctive relief valued at $8 million, on behalf of a
11                      class of distributors asserting defendants engaged in price-fixing
12                      in violation of the Cartwright Act; Kaewsawang v. Sara Lee
13                      Corp., et al. (Los Angeles Superior Court).
14                      $20 million in cash equivalent calling cards recovered for
15                      overcharges on long distance telephone calls erroneously carried
16                      by AT&T and improperly billed by Verizon California; Roark, et
17                      al. v. GTE California Inc., et al. (Santa Barbara Superior Court).
18                      $16 million recovery on behalf of a class of victims of fraud and
19                      negligent cemetery operations; In re: Woodlawn Memorial Park
20                      Litigation (Los Angeles Superior Court).
21                      $15 million recovery of unpaid overtime wages and meal break
22                      premiums for home healthcare workers; Costa, et al. v. Vitas
23                      Healthcare Corporation of California (Los Angeles Superior
24                      Court).
25                      $14 million Judgment entered against Cal-ISO after trial for
26                      unpaid overtime; Hardie v. California Independent System
27                      Operator (Los Angeles Superior Court).
28                      $14.5 million recovery Judgment entered against Cal-ISO after

                                            – 3 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 28 of 44 Page ID
                                      #:1520

 1                      trial for unpaid overtime; Hardie v. California Independent
 2                      System Operator (Los Angeles Superior Court).
 3                      $10 million recovery on behalf of employees of ERISA violation
 4                      related to 401(k) plans; Gottlieb, et al. v. SBC Communications,
 5                      et al. (U.S. District Court, Central District of California).
 6                      $10 million recovery of unpaid wages, break premiums, and other
 7                      relief in class action alleging the misclassification of Store
 8                      Managers; Mosse v. CVS Caremark Corp. (Los Angeles Superior
 9                      Court).
10                      Over $9 million recovery for residents impacted by odors emitted
11                      from Sunshine Canyon Landfill; Michaely v. Browning-Ferris
12                      Industries of California (Los Angeles Superior Court).
13                      $9 million recovery for victims of racial profiling harassment at
14                      an amusement park; Armendarez v. Six Flags Magic Mountain
15                      (Los Angeles Superior Court).
16                      $8.3 million recovery for class members in suit asserting
17                      improper handling of decedents’ remains; In re: Paradise
18                      Memorial Park Litigation (Los Angeles Superior Court).
19                      $8 million recovery of unpaid overtime wages and meal break
20                      premiums for fast food restaurant managers; Elias, et al. v. El
21                      Pollo Loco, Inc. (Los Angeles Superior Court).
22                      $5 million judgment following trial on behalf of certified class of
23                      consumers against tow company for unauthorized and illegal
24                      charges; First Service Credit Union v. United Road Towing
25                      (Eighth Judicial District for Clark County, Nevada).
26                      $4.1 million recovery on behalf of class alleging that certain
27                      Honda vehicles were equipped with a defective side airbag system
28                      which inadvertently deploy while the vehicle is being driven

                                            – 4 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 29 of 44 Page ID
                                      #:1521

 1                        under normal condition; Gutierrez v. Honda North America, Inc.
 2                        (U.S. District Court, Central District of California).
 3                        $2.5 Million recovery following settlement of class action lawsuit
 4                        alleging that Panther violated “Contractor Operating Agreements”
 5                        by failing to pay the fuel-surcharge that Panther promised when it
 6                        initially offered a load to individuals and companies who leased
 7                        equipment and provided their services to Panther; Eubanks v.
 8                        Panther II Transportation (U.S. District Court, Northern District
 9                        of Ohio).
10                        Settlement requiring the City of Los Angeles to spend more than
11                        $1.367 billion over 30 years to make public sidewalks and curbs
12                        located in the City accessible to persons with mobility
13                        disabilities; Carter v. City of Los Angeles (Los Angeles Superior
14                        Court).
15          5.     As set forth in detail below at paragraphs 22 through 29 of this declaration, I
16    and my partner, Alfredo Torrijos, have an extensive background in all aspects of class
17    action litigation – including the trial of certified class actions. Representing consumers in
18    class actions constitutes a significant part of ASWT’s practice.
19
20    II.   RISKS ASSUMED BY ASWT
21          6.     Before agreeing to represent plaintiffs and the proposed class in this action, I
22    and my partners carefully weighed our potential benefits and risks from committing to this
23    litigation. I fully expected that defendant would mount a vigorous defense to this action
24    and that certifying the class and ultimately prevailing at trial would be both time consuming
25    and difficult. Since plaintiff was not willing or able to retain counsel on an hourly basis to
26    pursue this litigation, my firm would have to represent plaintiff and the proposed class on a
27    contingency basis, meaning that we would only get paid for our efforts if successful in
28    recovering damages – either through settlement or judgment – from the defendant.             I

                                             – 5 –
            DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
            ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 30 of 44 Page ID
                                      #:1522

 1    therefore understood that there was a very real possibility that we would never be able to
 2    recoup our investment of time and money in this case. I also understood that even if we
 3    were ultimately able to recoup its investment of time and money, there would necessarily be
 4    a delay (potentially of many years) between the time these expenditures were made by my
 5    firm and the time that we were paid. Because of the real risk of obtaining no payment and
 6    the certainty that payment (if any) would be delayed, we would not have agreed to represent
 7    plaintiffs and the proposed class on a pure hourly basis.
 8           7.       From the initiation of this case, my firm undertook the risk that we would
 9    never receive any payment from our prosecution of this action. We knew that defendant
10    would devote significant resources to this litigation, including hiring aggressive and skilled
11    attorneys who would provide a tenacious defense to this case. We also knew that prevailing
12    and ultimately collecting any recovery from defendant was never anywhere near certain.
13    We accepted and proceeded with this litigation in the face of this uncertainty, agreeing to
14    undertake this litigation on a wholly contingent basis. Accordingly, the contingency risk
15    borne by ASWT supports the requested fees.
16
17    III.   TIMEKEEPING AND CALCULATION OF LODESTAR
18           8.       As of September 20, 2019, the attorneys and professional support staff at ASWT
19    devoted a total 65.3 hours (comprised of 63.3 hours of attorney time and 2 hours of staff time) to
20    the prosecution of this action. At their reasonable and regular hourly rates this represents a
21    lodestar of $50,405, calculated as follows:
22
                  Name                      Rate             Hours           Total
23                Mike Arias
                   (managing partner)         $ 1,050.00             8.6      $      9,030.00
24                Alfredo Torrijos
25                   (partner)                $ 750.00               54.7      $ 41,025.00
                  LaDonna McDuffie
26                  (paralegal)               $ 175.00                2.0      $      350.00
27                                                  Total:           65.3      $ 50,405.00
28

                                              – 6 –
             DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
             ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 31 of 44 Page ID
                                      #:1523

 1          9.     The above table was prepared from time records that are regularly inputted by
 2    the attorneys and professional staff members of my firm and are maintained electronically.
 3    My partner, Alfredo Torrijos, and I have reviewed these time records in order to confirm
 4    their accuracy. A true and correct copy of ASWT’s detailed time records are available for
 5    in camera inspection upon request of the Court.
 6          10.    The practice of both myself and the attorneys and professional staff at ASWT
 7    is to record time in tenth of an hour increments, and to do so as contemporaneously as
 8    possible. This method of recording time is more accurate than recording time by quarter
 9    hour increments, which tends to inflate the amount of time billed for short telephone
10    conferences and other small, discrete tasks.
11          11.    The procedures and systems employed at ASWT are not designed to ensure
12    that all time spent on a case is in fact recorded. As a result, the amount of time stated on
13    our time records is conservative and necessarily understates the actual amount of time
14    devoted to the prosecution of this case. Also, in recording my time I did not record, and we
15    do not seek compensation for, many tasks and activities. For example, my records for work
16    in this case do not include many telephone conversations, meetings, and supervisory
17    activities that I undertook in the prosecution of this action but did not record.
18          12.    In the exercise of billing judgment, either I or my partner, Alfredo Torrijos,
19    reviewed and revised the billing records on an entry-by-entry basis to eliminate
20    inefficiencies and other billing entries that we believe should not be claimed. To the extent
21    that any time entries by ASWT attorneys or legal staff reflect unproductive or duplicative
22    hours, we have not requested fees based thereon.
23          13.    In my experience, the number of hours devoted to this case by ASWT is well
24    within the range of hours that reasonably would be expected under the circumstances.
25          14.    The hours (and resulting lodestar) reported here are, as noted above, current as
26    of September 20, 2019. Accordingly, these hours do not include the additional time that
27    may be devoted by ASWT to the prosecution of this action going forward. ASWT does not
28    intend to apply for reimbursement of additional fees incurred after September 20, 2019.

                                            – 7 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 32 of 44 Page ID
                                      #:1524

 1    However, for purposes of evaluating the reasonableness of the present fee request, and in
 2    performing the lodestar cross-check, it is appropriate to consider that ASWT will
 3    necessarily have to devote additional time to the prosecution of this action beyond what is
 4    reflected in the lodestar figures set forth in this declaration.
 5
 6    IV.    EVIDENCE IN SUPPORT OF PREVAILING RATES
 7           15.    The above hourly rates used to calculate lodestar for the work done in
 8    prosecuting this action are the reasonable and regular rates that are commensurate with the
 9    experience and expertise of each attorney and paraprofessional (as set forth below in
10    paragraphs 22 through 30 of this declaration) who worked on this case.
11                                                                       Year of
12                     Attorney                   Position               Admission
                       Mike Arias                 Managing Partner        1984
13
                       Alfredo Torrijos           Partner                 2002
14
15           16.    The hourly rates used to calculate the above lodestar fall within the range
16    approved as reasonable by courts in similar class action cases. See Wynn v. Chanos, No. 14-
17    cv-04329-WHO, 2015 WL 3832561, at *2 (N.D. Cal. June 19, 2015) (approving rates of
18    $570-$1,085 for attorneys); Banas v. Volcano Corp., No. 12-cv-01535-WHO, 2014 WL
19    7051682, at *5 (N.D. Cal. Dec. 12, 2014) (finding rates ranging from $ 355 to $ 1,095 per
20    hour for partners and associates were within the range of prevailing rates); Gutierrez v.
21    Wells Fargo Bank, N.A., No. 07-05923 WHA, 2015 WL 2438274, at *5 (N.D. Cal. May 21,
22    2015) (finding reasonable rates of between $475 to $975 for partners, $300 to $490 for
23    associates, and $150 to $430 for litigation support and paralegals); In re High-Tech Emp.
24    Antitrust Litig., No. 11-CV-02509-LHK, 2015 WL 5158730, at *9 (N.D. Cal. Sept. 2, 2015)
25    (finding reasonable “billing rates for partners [that] range from about $490 to $975 ...
26    billing rates for non-partner attorneys, including senior counsel, counsel, senior associates,
27    associates, and staff attorneys, [that] range from about $310 to $800, with most under $500
28    ... [and] billing rates for paralegals, law clerks, and litigation support staff [that] range from

                                             – 8 –
            DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
            ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 33 of 44 Page ID
                                      #:1525

 1    about $190 to $430, with most in the $300 range.”).
 2           17.     Moreover, these hourly rates are commensurate with the market rate for fees
 3    according to the Laffey Matrix, a court approved and adopted survey of attorney hourly
 4    rates. Attached hereto as Exhibit 2 is the current version of the Laffey Matrix.1
 5           18.     Furthermore, the hourly rates requested here are comparable to the rates
 6    requested – and awarded – for work done by ASWT attorneys in other class actions. Some
 7    of the more recent examples included:
 8                       a. On August 2, 2019, the Honorable Rafael A. Ongkeko approved an
 9           attorney fee request in connection with a class action settlement in Kaewsawang v.
10           Sara Lee Corp., et al. (Los Angeles Superior Court - Case No. BC360109) for work
11           for work done between May of 2015 and July of 2019 at the following hourly rates:
12                          -   Mike Arias (Partner) $1,050.00/hr.
13                          -   Alfredo Torrijos (Partner) $750.00/hr.
14                          -   LaDonna McDuffie (Paralegal) $175.00/hr.
15                   Judge Ongkeko did not reduce the hourly rates for these attorneys and
16           professional staff or any of the attorney/professional staff time submitted by my firm
17           in the Kaewsawang matter.
18                       b. On February 8, 2019, the Honorable Kenneth R. Freeman approved an
19           attorney fee request in connection with a class action settlement in Michaely, et al. v.
20           Browning-Ferris Industries of California, Inc. (Los Angeles Superior Court - Case
21           No. BC497125) for work done between May of 2015 and August of 2018 at the
22           following hourly rates:
23                          -   Mike Arias (Partner) $1,050.00/hr.
24                          -   Alfredo Torrijos (Partner) $750.00/hr.
25
        1
26         Since the hourly rates in the Laffey Matrix were established for D.C. Lawyers, these rates should be
      adjusted upward 4.6% to reflect the current rates typical of attorneys litigating within California. See In
27    re Chiron Corp. Securities Litigation, 2007 WL 4249902, at *6 (N.D. Cal., Nov. 30, 2007) (“Adjusting
      the Laffey matrix figures accordingly will yield appropriate rates for the respective geographical
28    regions: … +4.6% for Los Angeles.”).

                                             – 9 –
            DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
            ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 34 of 44 Page ID
                                      #:1526

 1                Judge Freeman did not reduce the hourly rates for these attorneys or any of the
 2         attorney time submitted by my firm in the Michaely matter.
 3                   c. On May 4, 2017, the Honorable Kenneth R. Freeman approved an
 4         attorney fee request in connection with a class action settlement in Fahmie, et al.
 5         v.City of Los Angeles (Los Angeles Superior Court - Case No. BC381773) for work
 6         done between May of 2015 and January of 2017 at the following hourly rates:
 7                      -   Mike Arias (Partner) $750.00/hr.
 8                      -   Alfredo Torrijos (Partner) $650.00/hr.
 9                Judge Freeman did not reduce the hourly rates for these attorneys or any of the
10         attorney time submitted by my firm in the Fahmie matter.
11                   d. On November 29, 2016, the Honorable Jesus B. Bernal approved an
12         attorney fee request in connection with a wage an hour action in Bickley v.
13         CenturyLink, Inc. (U.S. District Court for the Central District of California) for work
14         done between June 2015 and March 2016 at the following hourly rates:
15                      -   Mike Arias (Partner) $750.00/hr.
16                      -   Alfredo Torrijos (Partner) $650.00/hr.
17                   e. On August 30, 2016, the Honorable Ronald J. Israel ordered attorneys’
18         fees against defendants in connection with a class action in First Service Credit
19         Union v. United Road Towing, Inc. (District Court of Nevada for Clark County –
20         Case No. A-10-616806-C) for work done between May of 2015 and September of
21         2015 at the following hourly rates:
22                      -   Mike Arias (Partner) $750.00/hr.
23                      -   Alfredo Torrijos (Partner) $650.00/hr.
24                Judge Israel did not reduce the hourly rates for these attorneys or any of the
25         attorney time submitted by my firm in United Road Towing matter.
26                   f. On January 8, 2016, the Honorable J. Stephen Czuleger approved an
27         attorney fee request in connection with a class action settlement in Gutierrez, et al. v.
28         California Commerce Club, Inc. (Los Angeles Superior Court - Case No. BC360704)

                                            – 10 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 35 of 44 Page ID
                                      #:1527

 1          for work done between May of 2015 and January of 2016 at the following hourly
 2          rates:
 3                         -   Mike Arias (Partner) $750.00/hr.
 4                         -   Alfredo Torrijos (Partner) $650.00/hr.
 5                   Judge Czuleger did not reduce the hourly rates for these attorneys or any of the
 6          attorney time submitted by my firm in the Gutierrez matter.
 7
 8    V.    REQUEST FOR REIMBURSEMENT OF LITIGATION EXPENSES
 9          19.      In addition to the professional time expended in the case, ASWT has incurred
10    $1,177.45 in unreimbursed litigation expenses during the prosecution of this lawsuit,
11    summarized as follows:
12                                                                Incurred
                        Item                                      Costs
13                      Filing Fees & Court Costs                  $     975.00
14                      Mileage & Parking                          $      88.17
                        Messenger, Overnight Delivery & Postage    $     111.18
15
                                                           Total: $     1,177.45
16
17          20.      The expenses incurred by ASWT in connection with this litigation are

18    reflected on an expense by expense basis in the financial records ASWT. These records are

19    prepared from expense reports, check requests, and cash receipts, and are maintained in the

20    ordinary course of business by ASWT. Attached hereto as Exhibit 1 is a true and correct

21    copy of a transaction report printed from ASWT’s accounting system setting-forth the

22    above expenses. The expenses reflected above were reasonably and necessarily incurred in

23    connection with this litigation and were specifically reviewed and authorized by me. Upon

24    the Court’s request, ASWT will make its itemized statements and supporting documents

25    available to the Court for its review.

26    ///

27    ///

28    ///

                                             – 11 –
            DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
            ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 36 of 44 Page ID
                                      #:1528

 1    VI.    BIOGRAPHIES OF ATTORNEYS AND PARAPROFESSIONALS
 2           21.    In support of the hourly rates used to calculate the lodestar amounts set forth
 3    in this declaration, below I set forth the biographies of the principle attorneys and
 4    paraprofessionals who worked on this matter.
 5           A.     Mike Arias (Managing Partner)
 6           22.    I was the founding and managing partner of ASWT. The lodestar amounts set
 7    forth in this declaration reflect my work in this matter from May 2018 to September 2019.
 8           23.    I have significant experience in managing and litigating cases, having served as
 9    lead, co-lead or liaison counsel in well over 100 class and mass tort actions. I have resolved
10    hundreds of matters, either by trial, arbitration or settlement, resulting in hundreds of millions of
11    dollars in recovery for the firm’s clients. My most recent class action trial victories resulted in
12    judgments in excess of $19 million and $5 million.
13           24.    I am the current President of the Consumer Attorneys of California (CAOC),
14    was last year’s president of the Consumer Attorneys Association of Los Angeles (CAALA)
15    and serve on the Board of Governors of the American Association for Justice (AAJ). In
16    2019 I was named one of the year’s California Trailblazers by The Recorder. Also in 2019,
17    I was recognized as one of the Daily Journal’s 2019 Top Plaintiff Lawyers. In 2016 I was
18    awarded the AAJ Above and Beyond Award and in 2015 I was awarded the AAJ President’s
19    Distinguished Service Award. I serve as Co-Chair of the Class Action Litigation Group of
20    AAJ, Chair of the AAJ Convention Planning Committee, Chair of the AAJ Leaders Forum
21    Advisory Committee, Chair of the Membership Committee of CAOC, am a member of the
22    LACBA Litigation Section Executive Committee and I am the Founding Chair of CAALA’s
23    Plaintiffs Trial Academy.
24           25.    I have given numerous lectures and presentations on class action issues,
25    including: Optimizing the Likelihood of Obtaining Approval Of Your Settlement (2017
26    Consumer Attorneys of California 11th Annual Class Action and Mass Tort Seminar);
27    Trying the Class Action (2016 Consumer Attorneys of California Hawaii Travel Seminar);
28    Fee Applications – Recent Developments (2016 Consumer Attorneys of California Annual

                                             – 12 –
            DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
            ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 37 of 44 Page ID
                                      #:1529

 1    Convention); Evaluating Potential Class Actions: What’s Hot and What’s Not (2015
 2    Consumer Attorneys of California Hawaii Travel Seminar); Professional Objectors: Recent
 3    Developments and How to Deal with Them (2015 Consumer Attorneys of California Annual
 4    Convention); Trying the Class Action: Opening Statements (2015 AAJ Class Action
 5    Seminar); Trying the Class Action: Closing Arguments (2015 AAJ Class Action Seminar);
 6    Evaluating Potential Class Actions (2015 Consumer Attorneys of California 9th Annual
 7    Class Action Seminar); Bad Actions Equal Class Actions: Identifying the Differing Types
 8    (2015 Consumer Attorneys of California Hawaii Travel Seminar); Are Wage and Hour
 9    Class Actions the Beginning of the End? (2014 JAMS Class Action Seminar); Getting Your
10    Settlements Approved (2014 Bridgeport Class Action Conference); AT&T Mobility v.
11    Concepcion: Assessing the Impact on Class Action Litigation (2013 Bridgeport Class
12    Action Conference); Class Certification Motions in the Post Brinker Era (2013 Consumer
13    Attorneys of California Annual Convention); Jury Selection – Special Issues for Class
14    Actions (2012 American Association for Justice Annual Convention); Recent Developments
15    on the Use of Cy Pres Awards in Class Actions (2012 Consumer Attorneys of California
16    Annual Convention); Class Actions: An A To Z Crash Course (2012 Consumer Attorneys of
17    California Hawaii Travel Seminar); Class Action Settlement Strategies (2010 Strafford CLE
18    Webinar and Teleconference); Certifying a Class Action (2009 Consumer Attorneys
19    Association of Los Angeles Annual Conference). In addition, I have co-chaired the two-day
20    Annual Class Action Litigation Management Conference presented by Bridgeport Programs
21    for five years. I have also written and co-authored numerous articles on class action issues,
22    including: Class Actions: Getting Your Class Certified (Advocate Feb. 2010); and A Class
23    Action Primer (Advocate Mar. 2010).
24          B.     Alfredo Torrijos (Partner)
25          26.    Alfredo Torrijos is a partner of ASWT. The lodestar amounts set forth in this
26    declaration reflect work in this matter by Mr. Torrijos from May 2018 to September 2019.
27          27.    Mr. Torrijos has significant experience in technology related litigation, intellectual
28    property law and class actions. Mr. Torrijos has handled class actions through trial and appeal

                                            – 13 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 38 of 44 Page ID
                                      #:1530

 1    and has successfully represented consumers in class actions against some of the biggest
 2    technology and insurance companies in the country, including: Google, Yahoo!, CitySearch,
 3    Network Solutions, Nationwide Insurance, Progressive and State Farm. In addition to his class
 4    action and commercial litigation experience, Mr. Torrijos also maintains a strong appellate
 5    practice, having written and argued dozens of appellate briefs, many of which resulted in
 6    reversals of the trial court. Among the opinions he has helped publish are: Cordova v. 21st
 7    Century Ins. Co., 129 Cal.App.4th 89 (2005); Johnson v. GlaxoSmithKline, Inc., 166
 8    Cal.App.4th 1497 (2008); Hughes v. Progressive Direct Insurance Company, 196 Cal.App.4th
 9    754 (2011) (petition for review granted on Sept. 28, 2011 and review dismissed on Sept. 11,
10    2013); Johnson v. Wal-Mart Stores, Inc., 544 F. App’x 696, 698 (9th Cir. 2013); and Safeway,
11    Inc. v. Superior Court of Los Angeles, 238 Cal.App.4th 1138 (2015) (review denied Oct. 21,
12    2015).
13             28.   Mr. Torrijos received his Juris Doctor degree from Stanford Law School in 2001
14    and graduated summa cum laude from California State University, Northridge where he received
15    a Bachelor of Science degree in business administration with an emphasis in finance. Prior to
16    attending law school, Mr. Torrijos worked for Litton Industries as a staff accountant in the
17    company’s corporate financial consolidations and reporting department.         Mr. Torrijos was
18    subsequently promoted and placed in charge of designing, programming and implementing the
19    transition of the company’s financial consolidation system from a legacy mainframe platform to
20    a client/server system. Following law school, Mr. Torrijos worked as a Management Consultant
21    at The Boston Consulting Group (BCG), where he focused on the telecommunications,
22    pharmaceutical, utilities and consumer sectors and on projects involving strategy development,
23    organization/change management and cost management.
24             29.   Mr. Torrijos has spoken extensively on class action topics, including: Structuring
25    Class Settlements to Obtain Court Approval (October 9, 2018, Stafford Publications); Handling
26    Individual Wage & Hour Cases (August 30, 2018, CAALA Las Vegas Convention); Dealing
27    with Professional Objectors (June 11, 2018, Consumer Attorneys of California 12th Annual
28    Class Action and Mass Torts Seminar); Structuring Class Settlements to Obtain Court Approval

                                            – 14 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
     Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 39 of 44 Page ID
                                      #:1531

 1    (September 20, 2017, Stafford Publications); Class Actions in the Age of Big Data (November
 2    15, 2014, 2014, Consumer Attorneys of California Annual Convention); Class Action
 3    Settlements: Rule 68 Offers of Judgment and Other Strategic Tools (April 11, 2014, Bridgeport
 4    Continuing Education 2014 Class Action Conference); Getting Your Settlement Approved
 5    (September 2014, JAMS Class Action Seminar); The Changing Standards of Class Certification
 6    (January 10, 2014, Bridgeport Continuing Education Consumer Class Action Conference);
 7    Class Actions: Recent Developments (January 2014, myLawCLE); CAFA Removal and
 8    Remand: Latest Developments (March 29, 2011, Stafford Publications); and Is it better to file a
 9    nationwide class action or state-only class action? (January 28, 2010, Consumer Attorneys of
10    California 4th Annual Class Action Seminar). Mr. Torrijos has also co-authored numerous
11    articles concerning class action law, including: Notice 2.0: How Technology is Changing Class
12    Action Notice Procedures (January 2011, Westlaw Journal); The Internet, Indispensable for
13    Providing Class Action Notice (August 16, 2010, Los Angeles Daily Journal); The Rise of
14    “Professional Objectors” in the Class Action Settlements (July 8, 2010, Los Angeles Daily
15    Journal); and The End of Consumer Class Action Arbitrations (May 14, 2010, Los Angeles
16    Daily Journal).
17          C.     LaDonna R. McDuffie (Paralegal)
18          30.    La Donna McDuffie is a Certified Paralegal with over 16 years’ experience.
19    Ms. McDuffie obtained her Bachelor of Science from Pepperdine University in 1996 and
20    completed the ABA-Approved Paralegal Certification Program at West Los Angeles
21    College. Her experience includes civil litigation specializing in Business and Commercial
22    Litigation and Products Liability cases.
23
24          I declare under penalty of perjury of the laws of the United States that the foregoing
25    is true and correct, executed on September 20, 2019 in Los Angeles, California.
26
27                                                   ______________________
                                                           Mike Arias
28

                                            – 15 –
           DECLARATION OF MIKE ARIAS IN SUPPORT OF PLAINTIFF’S MOTION FOR APPROVAL OF
           ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS (CASE NO. 2:18-CV-03893-RGK-AGR)
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 40 of 44 Page ID
                                 #:1532




                                 EXHIBIT 1


                                                                         Arias Decl.
                                                                      Exhibit 1, p. 16
                                                                                                 Arias Sanguinetti Wang and Torrijos, LLP
                                                                                                           Prepaid Case Costs
                                                                                                                               All Dates


                                            Transacti
                                  Date       on Type         Num                   Name                Class                                            Memo/Description                                                   Split               Amount
                   1200
                   Prepaid
                               05/10/2018   Expense     21727228       US District Court        Munoz v. 7-Eleven    Filing fee Complaints and other initiating documents                                 2002 Amex Business Gold *1000             400.00
                               05/15/2018   Expense     Munoz filing   US District Court        Munoz v. 7-Eleven    Filing fee Ex Parte applications Steven L. Woodrow                                   2002 Amex Business Gold *1000             325.00
                               05/15/2018   Expense     Munoz filing   US District Court        Munoz v. 7-Eleven    Filing fee Ex Parte Applications Patrick H. Peluso                                   2002 Amex Business Gold *1000             325.00
                               05/15/2018   Expense     Munoz filing   US District Court        Munoz v. 7-Eleven    Filing fee Ex Parte applications Taylor T. Smith                                     2002 Amex Business Gold *1000             325.00

                               05/21/2018   Deposit                    Woodrow & Peluso         Munoz v. 7-Eleven    Reimbursement of filing fees                                                         1080 Bank of Nevada General (7195)        -400.00
                               07/17/2018   Bill        33373768R      Alfredo Torrijos         Munoz v. 7-Eleven    Pacer - Online Pacer charges.                                                        2000 Accounts Payable (A/P)                  2.20
                               02/28/2019   Bill        189531         Nationwide Legal, LLC    Munoz v. 7-Eleven    2-19-19 Joint Stip courtesy copy                                                     2000 Accounts Payable (A/P)                30.00
                               04/01/2019   Bill        3884619        Golden State Overnight   Munoz v. 7-Eleven    3-25-19 Delivery                                                                     2000 Accounts Payable (A/P)                16.03
                               05/03/2019   Bill                       Golden State Overnight   Munoz v. 7-Eleven    4-22-19 delivery to USDC E. Temple St                                                2000 Accounts Payable (A/P)                16.03
                               05/03/2019   Bill                       Golden State Overnight   Munoz v. 7-Eleven    4-17-19 delivery to USDC E. Temple St                                                2000 Accounts Payable (A/P)                26.08
                               05/16/2019   Bill        3914989        Golden State Overnight   Munoz v. 7-Eleven    5-6-19 delivery to USDC                                                              2000 Accounts Payable (A/P)                23.04
                               05/18/2019   Bill        45444471R      Alfredo Torrijos         Munoz v. 7-Eleven                                                                                           2000
                                                                                                                     78.9 mi @ $0.545 / mi - Travel from office of opposing counsel following Rule 16 meet and   Accounts Payable (A/P)
                                                                                                                                                                                                               confer.                               43.00
                               05/18/2019   Bill        45444471R      Alfredo Torrijos         Munoz v. 7-Eleven    Irvine Company - Parking at Call Jensen for in-person Rule 16 meet and confer.       2000 Accounts Payable (A/P)                  7.00
                               05/18/2019   Bill        45444471R      Alfredo Torrijos         Munoz v. 7-Eleven    70.03 mi @ $0.545 / mi - Travel to opposing counsel for Rule 16 meet and confer.     2000 Accounts Payable (A/P)                38.17
                               09/01/2019   Bill        50189827R      Alfredo Torrijos         Munoz v. 7-Eleven    Pacer - Pacer search and charges.                                                    2000 Accounts Payable (A/P)                  0.90
                   Total for
                   1200                                                                                                                                                                                                                        $   1,177.45
                                                                                                                                                                                                                                                                                               #:1533




                                                                                                          Friday, Sep 20, 2019 09:51:28 AM GMT-7 - Accrual Basis
                                                                                                                                                                                                                                                              Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 41 of 44 Page ID




Exhibit 1, p. 17
   Arias Decl.
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 42 of 44 Page ID
                                 #:1534




                                 EXHIBIT 2


                                                                         Arias Decl.
                                                                      Exhibit 2, p. 18
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 43 of 44 Page ID
                                 #:1535




                                                                  Years Out of Law School *
                                                     Paralegal/
                                         Adjustmt    Law
                      Year               Factor**    Clerk            1-3       4-7    8-10   11-19     20 +

                      6/01/18- 5/31/19    1.0350       $202       $371      $455      $658    $742    $894
                      6/01/17- 5/31/18    1.0463       $196       $359      $440      $636    $717    $864

                      6/01/16- 5/31/17    1.0369       $187       $343      $421      $608    $685    $826
                      6/01/15- 5/31/16    1.0089       $180       $331      $406      $586    $661    $796

                      6/01/14- 5/31/15    1.0235       $179       $328      $402      $581    $655    $789
                      6/01/13- 5/31/14    1.0244       $175       $320      $393      $567    $640    $771

                      6/01/12- 5/31/13    1.0258       $170       $312      $383      $554    $625    $753
                      6/01/11- 5/31/12    1.0352       $166       $305      $374      $540    $609    $734

                      6/01/10- 5/31/11    1.0337       $161       $294      $361      $522    $589    $709
                      6/01/09- 5/31/10    1.0220       $155       $285      $349      $505    $569    $686
                      6/01/08- 5/31/09    1.0399       $152       $279      $342      $494    $557    $671
                       6/01/07-5/31/08    1.0516       $146        $268      $329     $475    $536     $645
                       6/01/06-5/31/07    1.0256       $139        $255      $313     $452    $509     $614

                      6/1/05-5/31/06        1.0427        $136      $249      $305    $441     $497     $598
                      6/1/04-5/31/05        1.0455        $130      $239      $293    $423     $476     $574
                      6/1/03-6/1/04         1.0507        $124      $228      $280    $405     $456     $549
                      6/1/02-5/31/03        1.0727        $118      $217      $267    $385     $434     $522
                      6/1/01-5/31/02        1.0407        $110      $203      $249    $359     $404     $487

                      6/1/00-5/31/01        1.0529     $106         $195      $239    $345     $388     $468
                      6/1/99-5/31/00        1.0491        $101      $185      $227    $328     $369     $444
                      6/1/98-5/31/99        1.0439         $96      $176      $216    $312     $352     $424
                      6/1/97-5/31/98        1.0419         $92      $169      $207    $299     $337     $406
                      6/1/96-5/31/97        1.0396         $88      $162      $198    $287     $323     $389
                      6/1/95-5/31/96         1.032         $85      $155      $191    $276     $311     $375
                      6/1/94-5/31/95        1.0237         $82      $151      $185    $267     $301     $363


                     The methodology of calculation and benchmarking for this Updated Laffey Matrix has been
                     approved in a number of cases. See, e.g., McDowell v. District of Columbia, Civ. A. No. 00-
                     594 (RCL), LEXSEE 2001 U.S. Dist. LEXIS 8114 (D.D.C. June 4, 2001); Salazar v. Dist.
                     of Col., 123 F.Supp.2d 8 (D.D.C. 2000).

                     * “Years Out of Law School” is calculated from June 1 of each year, when most law
                     students graduate. “1-3" includes an attorney in his 1st, 2nd and 3rd years of practice,
                     measured from date of graduation (June 1). “4-7" applies to attorneys in their 4th, 5th, 6th
                     and 7th years of practice. An attorney who graduated in May 1996 would be in tier “1-3"
                     from June 1, 1996 until May 31, 1999, would move into tier “4-7" on June 1, 1999, and tier
                     “8-10" on June 1, 2003.                                                                      Arias
                                                                                                                     Decl.
                                                                                                           Exhibit 2, p. 19
Case 2:18-cv-03893-RGK-AGR Document 93-1 Filed 09/20/19 Page 44 of 44 Page ID
                      ** The Adjustment Factor#:1536
                                               refers to the nation-wide Legal Services Component of the
                            Consumer Price Index produced by the Bureau of Labor Statistics of the United States
                            Department of Labor.




                                                                                                                      Arias Decl.
                                                                                                                   Exhibit 2, p. 20
